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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                               CASE NO. 05-80810
       Plaintiff,                                              HON. LAWRENCE P. ZATKOFF

v.

CHARLES GADSON,

       Defendant.

____________________________________/

             ORDER DENYING DEFENDANT’S MOTION FOR DISCOVERY

       Currently before the Court is Defendant Charles Gadson’s May 11, 2006 Motion for

Discovery (#106). The Court permitted the parties to present oral arguments on this Motion on July

10, 2006. By this Motion, “Defendant seeks disclosure from the government whether any informant

utilized in this case actively participated in or was a percipient witness to the acts underlying this

prosecution, within the meaning of Roviaro v. U.S., 353 U.S. 53 (1957), so that defendant may

determine whether disclosure of the identity of the informant, pursuant to a Fed R Crim P 12(b)(1)

motion, would be helpful to his defense or essential to the fair determination of the case.”

Defendant’s Motion, ¶ 3.

       Based on the Government’s response brief and its response at oral arguments, the Court finds

that it is unnecessary to order the Government to disclose the requested information related to the

confidential informant. The Government is clearly aware of its discovery obligations, but has a

legitimate interest in protecting information related to the identity of the confidential informant. In

Roviaro, the Court explained that the confidential informant’s privilege gives way “[w]here the

disclosure of an informer's identity, or of the contents of his communication, is relevant and helpful
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to the defense of an accused, or is essential to a fair determination of a cause. . . .”

        By way of discovery, the Government has supplied Defendants with thousands of pages of

wiretap applications and affidavits. The Government has redacted certain portions of these

applications and affidavits in order to protect the identity of the confidential informants. The Court

is satisfied with the Government’s interest in protecting the confidential informants and finds that

Defendant has not met its burden in having any further information related to the confidential

informant revealed.

        For these reasons, the Court HEREBY DENIES Defendant’s Motion for Discovery (#106).

        IT IS SO ORDERED.



                                                s/Lawrence P. Zatkoff
                                                LAWRENCE P. ZATKOFF
                                                UNITED STATES DISTRICT JUDGE

Dated: July 18, 2006

                                   CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of
record by electronic or U.S. mail on July 18, 2006.


                                                s/Marie E. Verlinde
                                                Case Manager
                                                (810) 984-3290




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